          Case 1:16-cr-00122-DAD-BAM Document 163 Filed 08/03/17 Page 1 of 4

 1 PHILLIP A. TALBERT
   United States Attorney
 2 MELANIE L. ALSWORTH
   KIMBERLY A. SANCHEZ
 3 Assistant United States Attorney
   2500 Tulare Street, Suite 4401
 4 Fresno, CA 93721
   Telephone: (559) 497-4000
 5 Facsimile: (559) 497-4099

 6
   Attorneys for Plaintiff
 7 United States of America

 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                         CASE NO. 1:16-CR-000122-DAD-BAM-6

12                               Plaintiff,            STIPULATION AND ORDER DIRECTING
                                                       MENTAL EVALUATION OF DEFENDANT
13                         v.                          RAFAEL DELATORRE; VACATING STATUS
                                                       CONFERENCE REGARDING MENTAL
14   RAFAEL DELATORRE,                                 COMPETENCY; AND SETTING A HEARING
                                                       DATE ON DEFENDANT DELATORRE’S
15                               Defendant.            MOTION TO DETERMINE MENTAL
                                                       COMPETENCY
16

17

18          Whereas, defendant Rafael Delatorre on or about March 28, 2017 filed a motion for a hearing to

19 determine mental competency;

20          Whereas, in support of his motion, defendant Rafael Delatorre submitted a written report of

21 evaluation from Dr. A. A. Howsepian;

22          Whereas, the United States and defendant’s attorney agree that it would be prudent to have the

23 defendant Rafael Delatorre undergo a mental evaluation by a psychologist/psychiatrist within the

24 meaning of 18 U.S.C. § 4241;

25          Whereas, the defendant is out of custody and the United States has made arrangements for an

26 examination of defendant by a local psychologist/psychiatrist which is anticipated to be completed by
27 the end of August 2017.

28          It is hereby stipulated by and between the United States and defendant Rafael Delatorre, through


                                                        1
30
           Case 1:16-cr-00122-DAD-BAM Document 163 Filed 08/03/17 Page 2 of 4

 1 his attorney, Dale Blickenstaff, subject to the approval of the Court, that:

 2          1.      The Court conduct a hearing to determine the mental competency of Rafael Delatorre,

 3 pursuant to 18 U.S.C. § 4241(a), on October 16, 2017, at 10:00 a.m., which is after the mental

 4 examination of Rafael Delatorre is completed by a psychiatrist/psychologist of the United States'

 5 choosing.

 6          2.      The psychiatrist/psychologist chosen by the United States to perform the mental

 7 examination of Rafael Delatorre shall prepare a report containing those matters required under 18 U.S.C.

 8 § 4247(c) and shall provide a copy of the report to the United States and counsel for Rafael Delatorre

 9 within twenty days of the completion of the mental examination.

10          3.      The Court order that the Rafael Delatorre’s defense counsel provide a copy of any and all

11 reports related to the psychiatric, psychological, and/or mental evaluations, examinations, and/or testing

12 of defendant to the United States forthwith and no later than August 15, 2017, so that the United States'

13 psychiatrist/psychologist may have these materials before performing his/her mental examination of

14 defendant.

15          4.      The United States' mental examination of Rafael Delatorre shall take place on or before

16 September 1, 2017, at the Federal Building and United States Courthouse in Fresno, California.

17          5.      It is further stipulated by and between the parties that the status conference currently

18 scheduled for August 14, 2017, be vacated; and that time between July 10, 2017 and October 16, 2017

19 be excluded under the Speedy Trial Act for further preparation and investigation. The parties stipulate

20 that good cause exists for the continuance and that the ends of justice outweigh the interest of the public

21 and the defendant in a speedy trial.

22 Dated: August 2, 2017                                      PHILLIP A. TALBERT
                                                              United States Attorney
23

24                                                    By: /s/Melanie L. Alsworth
                                                          MELANIE L. ALSWORTH
25                                                        KIMBERLY A. SANCHEZ
                                                          Assistant United States Attorneys
26
27   Dated: August 2, 2017                                    __/s/ Dale Blickenstaff_____________________
                                                               DALE BLICKENSTAFF
28                                                             Attorney for Rafael Delatorre

                                                          2
30
          Case 1:16-cr-00122-DAD-BAM Document 163 Filed 08/03/17 Page 3 of 4

 1                                                     ORDER

 2          Pursuant to stipulation of counsel for the parties, and good cause appearing therefrom, the Court

 3 adopts the stipulation of the parties in its entirety as its ORDER.

 4          Based on the parties' stipulation, the Court specifically FINDS and/or ORDERS that:

 5          1.      There is reasonable cause to believe that defendant Rafael Delatorre may be presently

 6 suffering from a mental disease or defect rendering him mentally incompetent to the extent that he is

 7 unable to understand the nature and consequences of the proceedings against him or to assist properly in

 8 his defense within the meaning of 18 U.S.C. § 4241(a).

 9          2.      The Court shall conduct a hearing to determine the mental competency of Rafael

10 Delatorre, pursuant to 18 U.S.C. § 4241(a), on October 16, 2017, at 10:00 a.m., which is after the mental

11 examination of Rafael Delatorre is completed by a psychiatrist/psychologist of the United States'

12 choosing;

13          3.      The psychiatrist/psychologist chosen by the United States to perform the mental

14 examination of Rafael Delatorre shall prepare a report containing those matters required under 18 U.S.C.

15 § 4247(c) and shall provide a copy of the report to the United States and counsel for Rafael Delatorre

16 within twenty days of the completion of the mental examination. The report shall include the following

17 information required under § 4247(c), including: (a) Rafael Delatorre's history and present symptoms;

18 (b) a description of the psychiatric, psychological, and medical tests that were employed and their

19 results; (c) the examiner's findings; and (d) the examiner's opinions as to diagnosis, prognosis, and

20 whether Rafael Delatorre is suffering from a mental disease or defect rendering him mentally

21 incompetent to the extent that he is unable to understand the nature and consequences of the proceedings

22 against him or to assist properly in his defense.

23          4.      Rafael Delatorre's defense counsel shall provide a copy of any and all reports related to

24 the psychiatric, psychological, and/or mental evaluations, examinations, and/or testing of defendant to

25 the United States forthwith and no later than August 15, 2017, so that the United States'

26 psychiatrist/psychologist may have these materials before performing his/her mental examination of
27 Rafael Delatorre.

28

                                                         3
30
          Case 1:16-cr-00122-DAD-BAM Document 163 Filed 08/03/17 Page 4 of 4

 1          5.      The United States' mental examination of Rafael Delatorre shall take place on or before

 2 September 1, 2017, at the Federal Building and United States Courthouse in Fresno, California.

 3          6.      The Court further ORDERS that the status conference currently scheduled for August 14,

 4 2017, is vacated; and that time between July 10, 2017 and October 16, 2017 is excluded under the

 5 Speedy Trial Act for further preparation and investigation as well as to allow for the defendant’s

 6 examination to determine mental competency, 18 U.S.C. § 3161(h)(1)(A), (h)(7(B)(i) and (h)(7)(b)(iv) –

 7 Local Codes A, T1 and T4. Good cause exists for the continuance and that the ends of justice outweigh

 8 the interest of the public and the defendant in a speedy trial.

 9 IT IS SO ORDERED.

10
        Dated:     August 3, 2017
11                                                     UNITED STATES DISTRICT JUDGE

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28

                                                         4
30
